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                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
-----------------------------------x
                                              :
RALPH S. JANVEY, IN HIS CAPACITY AS           :
COURT-APPOINTED RECEIVER FOR THE              :
STANFORD RECEIVERSHIP ESTATE,                 :
AND THE OFFICIAL STANFORD                     :
INVESTORS COMMITTEE,                          :
                                              :
                     Plaintiffs,              : Case No. 3:13-cv-00477-N
                                              :
         - against -                          :
                                              :
PROSKAUER ROSE LLP, CHADBOURNE                :
& PARKE LLP, AND THOMAS V.                    :
SJOBLOM,                                      :
                                              :
                     Defendants.              :
                                              :
-----------------------------------x

                UNOPPOSED MOTION TO EXTEND PAGE LIMITATION

               Defendant Chadbourne & Parke LLP (“Chadbourne”) respectfully moves this

Court for permission to file a brief in support of its forthcoming Motion to Dismiss Plaintiffs’

Original Complaint that exceeds the page limitation set forth in Local Rule of Civil Procedure

7.2(c). Chadbourne’s Motion to Dismiss is due on October 3, 2014. Plaintiffs do not oppose

Chadbourne’s request for an extension of the page limitation.

               Chadbourne respectfully submits that an extension of the page limitation is

necessary and warranted in this case. Plaintiffs’ Original Complaint is 110 pages, and 273

paragraphs, long. It asserts seven causes of action against Chadbourne, and alleges that

Chadbourne is responsible for the loss of “billions of dollars in assets.” Pls.’ Original Compl.,

Janvey, et al. v. Proskauer Rose LLP, et al., No. 3:13-cv-00477-N (N.D. Tex.), at ¶ 270 (Dkt.
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No. 1) (Jan. 31, 2013). Given the magnitude and multiplicity of the claims asserted in Plaintiffs’

Original Complaint, Chadbourne believes that the requested extension is reasonable.

               Chadbourne therefore asks this Court for permission to file a brief in excess of

twenty-five (25), and not to exceed fifty (50), pages in support of its forthcoming Motion to

Dismiss Plaintiffs’ Original Complaint.




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Dated: September 23, 2014                PAUL, WEISS, RIFKIND, WHARTON &
                                         GARRISON LLP

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                                         Attorneys for Defendant Chadbourne &
                                         Parke LLP




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                             CERTIFICATE OF CONFERENCE

               Pursuant to Local Rules of Civil Procedure 7.1(a) and 7.1(b), on September 21,

2014, counsel for defendant Chadbourne & Parke LLP conferred with counsel for plaintiffs.

Plaintiffs’ counsel stated that they are not opposed to Chadbourne & Parke LLP’s request for an

extension of the page limitation.

                                                      /s/ Daniel J. Beller

                                                      Daniel J. Beller




                                 CERTIFICATE OF SERVICE

               On September 23, 2014, I electronically submitted the foregoing document upon

the attorneys of record in the above case, in accordance with Federal Rule of Civil Procedure 5

and Local Rule of Civil Procedure 5.4(c), by causing a copy of the same to be filed via the

electronic case filing system of the United States District Court for the Northern District of

Texas.

                                                      /s/ Daniel J. Beller

                                                      Daniel J. Beller




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